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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DONALD McDUFFIN WILLIAMS

E.D. No. 62055-037

Federal Correctional Complex-Petersburg
P.G. 1000
Petersburg, Virginia 23804

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Civat“€ase No. Vag 694//5

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Plaintiff, sui juris

TRIAL BY JURY DEMANDED

MIDWEST RECOVERY SYSTEM, LLC VERIFIED COMPLAINT

Suite 100 .
514 Earth City Plaza
Earth City, MO 63045

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Defendant
COMPLAINT
I. PRELIMINARY STATEMENT.
1. This is an action for damages brought by an individual
"consumer", Plaintiff, for Defendant's violations of the

Fair Debt Collection Practices Act, hereinafter "FDCPA," 15
U.S.C. §1692 et seq., as well as under the The Maryland

Consumer Debt Collection Act, hereinafter "MCDCA", Md. Code
Ann., Com. Law § 14-1201-14-204, et seq., constituting unfair
and deceptive acts and practices under the Maryland Consumer
Protection Act, Com. Law: Art., § 13-101 et seq., Md. Code,
hereinafter "MCPAT, These laws prohibit debt collectors from
engaging in abusive, deceptive, and unfair eollection practices.

Plaintiff also raises claims for intentional infliction of
 

 

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emotional distress and for invasion of privacy. Plaintiff stipulat-
es that this action is brought solely in response to Defendant's

violation(s) of the aforementioned Acts and has nothing to do with

the alleged underlying debt |.
Ti. JURISDICTION AND VENUE

2. Jurisdiction is proper in this action under federal question
jurisdiction and arises under 15 U.S.C. 1692k(d) and 28 U.S.C. §
1331; which grants the United States District Court jurisdiction to
hear this action without regard to the amount in controversy.
Supplemental jurisdiction exists for the state law claims pursuant

to 28 U.S.C. § 1367.

3. Venue lies in this district pursuant to 28 U.S.C. § 1391(b)
and is proper in that the Plaintiff resides here, the defendant

transacts business here, and the conduct complained of occurred here.

Iti. PARTIES
4. Plaintiff, Donald Williams, a sui juris adult, is a natural

person residing at Federal Correctional Complex-Petersburg, P.O.
Box 1000, Petersburg, Virginia 23804.
B. Plaintiff, Donald Williams, is a "consumer" as defined by 15

U.S.C. § 1692a(3).

 

t. As referenced in Spears v. Brennan, 745 NE 2d 862 Ind: Court of
Appeals 2001, an FDCPA claim “has nothing to do with whether the
underlying debt is valid. An FDCPA claim concerns the method of
collecting the debt. It does not arise out of the transaction creat-
ing the debt{.]" azar, 874 FP. Supp. at1318.
 

 

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6. Defendant, Midwest Recovery Systems, hereinafter, "Midwest"
is a corporation engaged in the business of collecting debts,
with its principle place of business located at 514 Earth City
Plaza, Suite 100, Earth City, MO 63045.

7. Defendant, Midwest, is a debt collector as defined at FDCPA,
U.S.C. § 1692a(6) as well as by Maryland MCDCA § 14-1201 to 14-

1204.

IV. FACTUAL ALLEGATIONS

8. At all pertinent times hereto, Defendant was collecting a
debt relating to an auto loan that was allegedly originally owed
by Plaintiff to Pelican Auto Finance, LLC.

9. The alleged debt at issue arose out of a transaction which
was primarily for personal, family or household purposes.

10. In February of 2019, a representative, employee and/or agent
From Defendant contacted Plaintiff's son at his residence in an
attempt to coerce payment of the debt, with the intent to annoy,
harass and abuse. During the conversation, the Midwest agent
questioned Plaintiff's son as to his age and whether he owned
property. Plaintiff's son responded that he did not own property,
to which the Midwest agent requested his mailing address.

17. Thereafter, Defendant communicated again with Plaintiffts
son who shares the same name (but a different social security
number) concerning the debt allegedly owed by Plaintiff. In each
of those communications, Defendant was advised that he was

contacting the wrong Donald Williams, but Defendant nonetheless

 
 

 

 

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continued to communicate with Plaintiff's son concerning the debt
owed by Plaintiff.

12. On or about March 5, 2019, Defendant contacted Plaintiff's

son again at his residence. Defendant went on to berate Plaintiff's
son, stating, “if legal action is taken, you will be responsible
for attorneys fees, court costs, and interest, as allowed by your
contract," in an attempt to coerce payment of the debt, the intent
to annoy, harass, and abuse.

13. To date, Defendant has not garnished the wages of the Plaintiff
or his son.

14. The Defendant acted in a false, deceptive, misleading and
unfair manner when, without permission from the Plaintiff, it
communicated with persons other than Plaintiff with respect to the
debt and made such communications on multiple occasions.

15. The Defendant acted in a false, deceptive, misleading and un-
fair manner by engaging in conduct the natural consequence of which
is to harass, oppress, or abuse any person in connection with the
collection of a debt.

16. The Defendant acted in a false, deceptive, misleading and un-
fair manner by harassing, oppressing and abusing the Plaintiff
including, but not limited to, repeatedly anda continuously contact-
ing the Plaintiff's son with the intent to annoy, abuse, and harass.
17. The defendant acted in a false, deceptive, misleading and
unfair manner by falsely representing of the amount, character or
legal status of a debt.

18. The Defendant acted in a false, deceptive, misleading and un-
fair manner by communicating to any person credit information

which Defendant knew or should have known to be false.
 

 

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19. The Defendant acted in a false, deceptive, misleading

and unfair manner by making a representation or implication Lo
Plaintiff that nonpayment of the debt would result in the seizure,
garnishment, of Plaintiff's wages.

20. The Defendant acted in a false, deceptive, misleading and
unfair manner by threatening to take action that it did not intend
to take for the purpose of coereing Plaintiff to pay the debt.

21. Defendant knew or should have known that its actions
violated ‘the FDCPA. and MCDCA. Additionally. Defendant could have
taken the steps necessary to bring its actions within compliance
with the FDCPA and MCDCA, but neglected to do s0 and failed to
adequately review its actions to insure compliance with said laws.
22. At all times pertinent hereto, Defendant was acting by

ana through its agents, servants and/or employees, who were act-
ing within the scope and course of their employment, and under

the direct supervision and control of the Defendant herein.

23. As a result of Defendant's conduct, Plaintiff has sustain-
ed actual damages including, but not limited to, injury to
Piaintiff's reputation, out-of-pocket expenses, damage to
Plaintiff's credit. physical. emotional and mental pain and
anguish and pecuniary loss, and Plaintiff will continue to suffer

same for an indefinite time in the future, all to Plaintiff's

great detriment and loss.

V- CLAIMS
COUNT ONE ~ VIOLATION OF THE FDCPA

ay. Plaintiff incorporates the foregoing paragraphs as though

the same were set forth at length herein.
 

 

 

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25. Defendant is a "debt collector" as defined by section
1692a(6) of the FDCPA.
26. Plaintiff is a "consumer" as defined by section 1692a(3)
of the FDCPA.
27. The above eontacts by the Defendant were “communications"
relating to a "debt" as defined by sections 1692a(2) and 1692a(5)
of the FDCPA.
2B. Defendant violated the FDCPA. Defendant's violations
include, but are not limited to, violations of 15U.5S.C. §§ 1692b(2),
1692b(3), 1692c(b), 1692d, 1692d(5), 1692e(2)(A), 1692e(4),
1692e(5), 1692e(8}, 1692e(10) and 1692f as evidenced by the follow-
ing conduct:

{a) Communicating with persons other than plaintiff

that Plaintiff owed a debt;

{b) Communicating with persons other than Plaintiff

on more than one occasion;

(c} Communicating in connection with the collection

of a debt with persons other than Plaintiff;

{d) Engaging in conduct the natural consequence of
which is to harass, oppress, oF abuse any person

in connection with the collection of a debt;

{e) Causing a telephone to ring or engaging any person
in telephone conversation repeatedly or continuosly

with intent to annoy, abuse, or harass any person

at the called number,

ify The false representation of the amount, character

or legal status of a debt;

(zg) The representation or implication that nonpayment
of a debt will result in the seizure, garnishment,

attachment or sale of any property or wages is not
 

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lawful and/or that Defendant did not intend to take;

(hh) Threatening to take action that cannot legally be

taken. and/or is not intended to be taken;

(i} Communicating or threatening to communicate to any
person credit information which is known or which
should be known to be false, including the failure

to communicate that a disputed debt is disputed; and

(3) Otherwise using false, deceptive, misleading and
unfair or uneonscionable means to collect or attempt

to collect a debt.

29. Defendant's acts as described above were done with malicious,

intentional, willful, reckless, wanton and negligent disregard for
Plaintiff's rights under the law and with the purpose of coercing
Plaintiff to pay the alleged debt.

30. As a result of the above violations of the FDCPA, Defendant

is liable to Plaintiff in the sum of Plaintiff's statutory damages,

actual damages and attorney's fees and costs.

WHEREFORE, Plaintiff respectfully prays that relief be

granted as follows:

(a) That an order be entered declaring that the Defendant's
actions as described above are in violation of the

FDCPA

{b) That an order be entered enjoining the defendant
from continuing to communicate with Plaintiff in
violation of the FDCPA;

{c) That judgment be entered against Defendant for act-

ual damages pursuant to 15 u.gs.c. § 1692k(a)(1);

{d} That judgment be entered against Defendant for
statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)

CA);
 

 

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(e) That the Court award costs and reasonable attorney's’

fees pursuant to 15 U.S.C. § 1692k(a)(3); and

(f) That the Court grant such other and further reiief

as may be just and proper.

COUNT TWO-VIOLATION OF THE EMCDCA AND MCPA]

37. Plaintiff incorporates the foregoing paragraphs as though
the same were set forth at length herein.

32. Defendant is a "debt collector" as defined by Md. Code
Ann., Com. Law §§ 14-201 to 14-204.

33, Plaintiff is a "debtor" as defined by §14-201 to 14-204

of the MCDCA.

 

34. The above deseribed contacts by Defendant were "communicat-
ions" relating to a "debt" as defined by § 14-201 to 14-204 of

the MCDCA.

35. Defendant engaged in unfair methods of collection and un-
fair or deceptive acts or practices, as defined by the MCPA, by
alLempting to collect the debt in violation of the MUDCA. Defendant's
violations of the MCDCA and MPA inelude, but are not limited to,
violations of § 14-202(3) and § 14-202(8), as evidenced by the
following conduct:

(a) Communicating with persons other than the Plaintiff

that the Plaintiff owes a debt;

(b) Communicating with persons other than Plaintiff on

more than one occasion;

Cc) Communicating, in connection with the collection of

a debt with persons other than Plaintiff;

{d) Engaging in conduct the natural consequence of which
 

 

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is to harass, oppress, or abuse any person in

connection with the collection of a debt.

Ce) Causing a telephone to ring or engaging any person
in telephone conversation repeatedly or continuous-
ly with intent to annoy, abuse, or harass any person

at the called number;

(f) The false representation of the amount, character or

legal status of a debt;

(g) The representation or implication that nonpayment of
a debt will result in the seizure, garnishment, attach-
ment or sale of any property or wages is not lawful

and/or that Defendant did not intend to take$

(h) Threatening to take action that cannot legally be

taken and/or is not intended to be taken;

(i) Communicating or threatening to communicate to any
person credit information which is known or which
should be known to be false, including the failure to

communicate that a disputed debt is disputed;

(34) The collection of any amount (ineluding any interest,
fee, charge or expense incidental to the principle
obligation) which is not expressly authorized by an
agreement creating the debt or premitted by law; and

(k) Otherwise using false, deceptive, misleading and
and unfair or: unconscionable means to collect or

attempt to collect a debt.

36. Defendant's acts as described above were done with
malicious, intentional, willful, reckless,wanton and negligent
disregard for plaintiff's rights under the law and withn the
purpose of coercing plaintiff to pay the alleged debt.

37. As a. result of the above violations of the [McPaA] and
[MCDCA], plaintiff has suffered ascertainable losses entitling
plaintiff to an award of statutory, actual and treble damages

and attorney's fees and cost.
 

 

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WHEREFORE, plaintiff respectfully prays that relief

be granted as follows:

(a) That an order be entered declaring that the defendant

actions as described above are in violation of the [MCPA] and the

[MCDCA];

(b) That an order be entered énjoining Defendant from
continuing to communicate with Plaintiff in violation of the

[MCPA] and the [MCDCA];

(c) That judgment be entered against the Defendant for
actual damages pursuant to §14-202 (3) and §14-202(8);

(ad) That judgment be entered against the Defendant for
statutory damages pursuant to §14-202 (3) and §14-202 (8);

(e) That judgment be entered against the Defendant for
treble damages pursuant to §14-202 (3) and §14-202 (8);

(f) That the Court award cost and reasonable attorney's

fees pursuant to §14-202(3) and §14-202 (8);

(g) That the Court grant such other and futher relief

as may be just and proper.

COUNT THREE INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

38. Plaintiff incorproates the foregoing paragraphs as

though the same were set forth at length herein.
39. As a result of the Defendants reckless and intentional

conduct, Piaintif?f sustained physical injury as well as mental

distress as more fully outlined above.

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yO. Due to the reckless and intentional conduct of the
Defendant,it was forseeable that Plaintiff would suffer severe
emotional distress, harm to nis physical and psychological
well-being and physical harm to the present-day as fully outlined

above.

WHEREFORE, Plaintiff claims compensatory, punitive and all

other forms of cognizabie damages against Defendant and Judgment

 

in his favor, pluse lawful interest thereon, attorney's fees

and costs of suit.

COUNT FOUR INVASION OF PRIVACY
NT. Plaintiff incorporates the forgoing paragraphs as though

the same were set forth at length herein.

he, Defendant continuously and repeatedly contacting

Plaintiff constitutes an invasion of privacy. -

43. As a result of Defendant's above mentioned conduct,
Plaintiff sustained and continues to sustain the losses: and

damages as set forth above.

WHEREFORE, Plaintiff claims compensatory, punitive
and all other form of cognizable damages against Defendant and
judgment in his favor, plus lawful interest thereon, attorney's
fees and cost of suit.

WHEREFORE, Plaintiff respectfully prays that judgment in
a sum less then $85,000 be entered:against the Defendant for the
fallowing:

A. Actual damages pur suant to 15 U.S.C.§1692k, §14-202(3)
and §14-202(8);

R. Statutory damages pursuant to 156 U.S.C.§1692k,
§14-202(3) and §14-202(8);

C. Treble damages pursuant to 16 U.S.C. §1692k, §14-202(3)
and §14-202(8);

Dp. Cost [and reasonable attorney's fees] pursuant to

45 U.S.C. §1692k, §14-202(3) and §i14-202(8);
, E. Compensatory and punitive damages for intentional
infliction of emotional distress;

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F. Exemplary damages based upon defendant's defiant,

presistent, outrageous and malicious conduct.

G. For such other and. further relief.as may be just

and proper.

VI. JURY TRIAL DEMAND

Jury on all issues so triable.

 

Wu. Plaintiff demands trial by

Respectfully Submitted,

Democtod le Lo nines [- {Gq - 2020
Donald Williams

T.D. # 62055-037

Federal Correctional Complex
P.O. Box 1000

Petersburg, Virginia 23804

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VERIFICATION

I, Donald Williams, the Complainant named in the foregoing
Complaint, hereby state under oath that the facts and allegations

above set forth are true and correct and based upon my personal

 

knowledge and that the allegations of which the plaintiff does not
have personal knowledge, the Plaintiff believes them to be true
based on specific information, documents, or both. I understand
that the statements herein are made subject to the penalties of 28
§ 1746 pursuant to the United States Code frelating to unsworn

falsification to authorities).

RESPECTFULLY SUBMITTED,

Denrald Weare | -le- 2020
Donald Williams, sui juris;
I.D. #62055-037

Federal Correctional Complex
P.O. Box 1000
Petersburg, Virginia 23804

State of Virquni a

ev ,
County of Pence freorag
Sworn and subscribed before me, a Notary Public, cnis}loth day of

My commission expires sla lonao
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Notar Publi Name  ,j- A

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Notary Public Signature

 

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AFFIDAVIT

1. Plaintiff, Donald Williams, has no documented evidence. of
ever having an Installment Account issued to him by the alleged

original Creditor, Pelican Auto Finance, LLC.

2. Plaintiff, Donald Williams, has no documented evidence of
ever signing 4 contract for an Automobile loan between himself and

the alleged Creditor.

3. Plaintiff, Donald Williams, has no documented evidence to
support Defendant's assertion that through either Assignment(s)}
or a Purchase & Sales Agreement, Plaintiff has aquired provable

and valid ownership of the alleged debt or account.

hy Plaintiff, Donald Williams, has no documented evidence of
Defendant ever sending, oF of Plaintiff ever receiving, validation
or verification of the alleged debt which Plaintiff requested

pursuant to the FDCPA, 15 U.S. Code § 1692e(b) via USPS Certified

Mail Return:Receipt Requested.

5. Plaintiff, Donald Williams,has no documented evidence to
support Defendant's allegation of being entitled to subrogation in

relation to the alleged eontract between the original creditor and

Plaintiff.

I, Donald Williams, (Affiant) of age and competent to testify,
verify that the statements made in this affidavit are true and
correct to the best of my knowledge. I understand that false state-
ments herein are made subject to the penalties of perjury pursuant

to United States Code Title 28 § 1746.

Respectfully Submitted,

etlitagy, Deneth b/ Merve 1- le - 2020

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s Oe Donald Williams

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CERTIFICATE OF SERVICE

- I, Donald Williams, hereby certify that on this io th

 

 

day of January , 2020, a true and correct copy of the .

foregoing COMPLAINT, AFFIDAVIT, CIVIL COVER SHEET and SUMMONS were
mailed to the Defendant at the following address, Midway Recovery

Systems, LLC, 514 Barth City Plaza, Suite 100, Earth City, MO

63045, Via USPS Certified Mail. L 1

 

Respectfully Submitted,
Donald Williams
T.D. # 62055-037

Federal Correctional Complex

P.O. Box 1000

 

Petersburg, Virginia 23804

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